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AO 245B (Rev. I2/03XVAED rev. 2) Sheet 1 - Judgment in a CriminalCase
                                                                                                                     Fii Fn

                                          UNITED STATES DISTRICT COURT
                                                                                                                    JAN 2 7 2017
                                                    Eastern District of Virginia
                                                      Newport News Division                                CLERK. U.S. DISTRiCT COURT
                                                                                                                    NORFOLK. VA


                         V.                                                  CaseNiimber:      4;14cr00059-001

ERIC PRIDGEN                                                                 USM Number;       82383-083
a/k/a "Rabbit"
      "Rab"                                                                  Defendant's Attorney: Lawrence Woodward, Esquire
Defendant.                                                                                         Bruce Sams, Esquire
                                                                             Government's Attorney: Brian Samuels, AUSA
                                                                                                      Howard Zlotnick, AUSA
                                                                                                      LisaMcKeel, AUSA


                                          JUDGMENT IN A CRIMINAL CASE

   The defendant was found guilty on Counts 1, 3, 4, 5, 6, 7, 9, 10, 11, 13, 14, 16, and 17 of the Second Superseding
Indictment after a plea of not guilty.
    Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses:


Title and Section                    Nature of Offense                               Offense Class      Offense Ended         Count


T. 18 U.S.C. § 1962(d)               Racketeering Conspiracy                         Felony             June 2012             1


T. 18U.S.C. §19Sl(a)                 Conspiracyto Interrerewith Commerceby Robbeiy   Felony             June 2010             3


T. ISU.S.C. § 1951{a)and2            Interference with Commerce by Robbery           Felony             January 8,2010        4and9


T. 18 U.S.C §922(gXl)                Felon in Possessionof Fireaim and Ammunition    Felony             March 16,2010         5.   10,
                                                                                                                              and 14




   As pronounced on January 26, 2017, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

    Signed this               day of January, 2017.



                                                                                        Raymond /k.J3^son
                                                                                        United alaies District Judge
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Defendant's Name:               PRIDGEN, ERIC



Title and Section                      Nature of Offense                   Offense Class   Offense Ended   Count

T. 18U.S.C. 5 1959(a)(1) and2          Murder in Aidof Racketeering        Felony          March 16,2010   6,   11,
                                                                                                           and 16


T. 18 U.S.C.§ 924(c)(1) and(j) and 2   Use of a FirearmResultingin Death   Felony          March 16,2010   7,   13.
                                                                                                           and 17
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          Sheet 2 - Imprisonment

Case Number:                   4:14cr00059-001
Defendant's Name:              PRIDGEN. ERIC



                                                             IMPRISONMENT
     The defendant is hereby committed to thecustody of the United States Bureau of Prisons to be imprisoned for a
term of LIFE, PLUS THREE LIFE TERMS CONSECUTIVE.

   The termof imprisonment consists of LIFE on Count 1; a term of TWO HUNDRED FORTY (240)MONTHS on
count 3, to be served concurrently; a term of TWO HUNDRED FORTY(240) MONTHS on count 4, to be served
concurrently; a term of ONE HUNDRED TWENTY (120)MONTHS on count 5, to be served concurrently; a termof
LIFE on count 6, to be served concurrently; a term of LIFE on Count 7, to be served consecutively; a term of TWO
HUNDRED FORTY(240) MONTHS on count 9, to be served concurrently; a term of ONE HUNDRED TWENTY (120)
MONTHS on Count 10, to be served concurrently; a term of LIFEon count 11, to be served concurrently; a term of LIFE
on count 13,to be served consecutively;a term of ONE HUNDRED TWENTY (120) MONTHS on count 14,to be served
concurrently; a term of LIFE on count 16, to be served concurrently; and a term of LIFE on count 17, to run
consecutively.




     The defendant is remanded to the custody of the United States Marshal.




                                                               RETURN
I have executed this judgment as follows:

Defendant delivered on                                            to
at                                                              , with a certified copy of this Judgment.




                                                               UNITED STATES MARSHAL



                                                    By
                                                               DEPUTY UNITED STATES MARSHAL
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          Sheet 3 - Supervised Release


Case Number:                   4:14cr000s9-001
Defendant's Name:              PRIDGEN, ERIC


                                                       SUPERVISED RELEASE


    Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS.
    This term consists of FIVE (5) YEARS on count 1, a term of THREE (3) YEARS on count 3, a term of THREE (3)
YEARS on count 4, a term of THREE (3) YEARS on count 5, a term of FIVE (5) YEARS on count 6, a term of FIVE (5)
YEARS on count 7, a term of THREE (3) YEARS on count 9, a term ofTHREE (3) YEARS on count 10, a term of FIVE
(5) YEARS on count 11, a term of FIVE (5) YEARS on count 13, a term of THREE (3) YEARS on count 14, a term of
FIVE (5) YEARS on count 16, and a term of FIVE (5) YEARS on count 17, all to run concurrently.
   The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.
   The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawfiil use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.
   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
   If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet ofthis judgment.
                             STANDARD CONDITIONS OF SUPERVISION
The defendant shall comply with the standard conditions that have been adopted by this court set forth below;
1) the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
     first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
      probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
      training, or other acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
      administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
      prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
      administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
      person convicted of a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
    agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
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         Sheet 3A - Supervised Release

Case Number:                 4:I4cr00059-001
Defendant's Name:            PRIDGEN, ERIC


                                    SPECIAL CONDITIONS OF SUPERVISION
While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:


    1) The defendant shall refrain from any unlawfiil use of a controlled substance and submit to one drug test within 15
       days of release on supervised release andat least twoperiodic drug tests thereafter, as directed bythe probation
         officer.


    2) If the defendant tests positive for illicit substances during hisperiod of supervised release, he shall participate in a
       program approved by the United States Probation Office for substance abuse, which program may include
       residential treatment and testingto determine whether the defendant has reverted to the use of drugs or alcohol,
         with partial costs to be paid by the defendant, all as directed by the probation officer.

    3) The defendant shall waive all rights ofconfidentiality regarding substance abuse treatment in order to allow the
       release of informationto the United States ProbationOffice and authorize communication between the probation
       officer and the treatment provider.

    4) The defendant is prohibited from havingany contact/affiliation with any gangs/gang members, to include Thug
         Relations.
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         Sheet S- Crimina] MonetaryPetialties

Case Number:                 4:14cr00059-001
Defendant's Name;            PRIDGEN, ERIC



                                             CRIMINAL MONETARY PENALTIES
Thedefendant must paythetotal criminal monetary penalties under the Schedule of Payments on Sheet 6.


                                      Count                   Assessment       Fine               Restitution
                                         1                      $100.00       $0.00                    $0.00
                                         3                      $100.00       $0.00                    $0.00
                                         4                      $100.00       $0.00                    $0.00
                                         5                      $100.00       $0.00                    $0.00
                                         6                      $100.00       $0.00                    $0.00

                                         7                      $100.00       $0.00                    $0.00
                                         9                      $100.00       $0.00                    $0.00
                                        10                      $100.00       $0.00                    $0.00

                                        11                      $100.00       $0.00                    $0.00

                                        13                      $100.00       $0.00                    $0.00

                                        14                      $100.00      $0.00                     $0.00

                                        16                      $100.00      $0.00                     $0.00

                                        17                      $100.00      $0.00                     $0.00
TOTALS:                                                        $1300.00      $0.00                     $0.00



                                                               FINES
No fines have been imposed in this case.




                                                 FORFEITURE
The Court entered a Consent Order of Forfeiture on January 26,2017.
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         Sheet 6 - Schedule of Payments

Case Number:                 4;14cr00059-001
Defendant's Name:             PRIDGEN, ERIC




                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penahies is due as follows:

The special assessment is due and payable immediately. Any balance remaining unpaid on the special assessment at the
inception of supervision, shall be paid by the defendant in installments of not less than $50.00 per month, until paid in
full. Said payments shall commence 60 days after defendant's supervision begins.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetaiy penalties, exceptthose payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.
